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Farm PL262 (12/23)

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Scungio Borst and Associates LLC ) Case No, 22-10609—ame
Debtor(s) ) Chapter 11
. ) .

_ Stephen J. Scherf, SBA Plan Trust Administrator of )

SBA Plan Trust j

Plainti(l ) Adversary No. 24-00028~aine
) .
*
Precision Door & Hardware }
Defendant
DEFAULT JUDGMENT”

. Before Judge Ashely M, Chan

AND NOW, in accordance with Request for Entry of Default Judgment, against Defendant,Precision Door & Hatdware it
is

ORDERED that judgment by default be and the same is hereby entered in favor of Plaintiff Stephen J.
Scherf, SBA Plan Trust Administrator of SBA Plan Trust , in the amount of Ten thousand seventy six dollars and
twenty cents ($10,076.20) , plus costs in the amount of Three hundred fifty dollars and zero cents ($350.00), for a
total of Ten thousand four hundred twenty six dollars and twenty cents ($10,426.20) sum certain.

Date: May 8, 2024 FOR THE COURT
ATTEST:

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Timothy B. MeGrath
Clerk of Court

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B1310 (Form 1310) (12/15)

United States Bankruptcy Court

Eastern District Of __ Pennsylvania
In re: Scungio Borst & Associates, LLC Case No, 22-10609 (AMC)
Dehtor ‘
Stephen J, Scherf, SBA Plan Trust Administrator of SBA Plan Trust, Adversary No, 24-00028 (AMC)
Plaintiff,

ve

Precision Door & Hardware,

Defend EXEMPLIFICATION CERTIFICATE
Tks HG ult sa
Il, \uro Asa __,clerk ofthe bankruptcy court for this district and keeper of the records and

seal of the court, certify that the documents attached are true copies of

Clerk's Order of Default Judgment Against Defendant, Precision Door & Hardware in the amount of $10,426.20

now cine arene « recards of the court, In testimony of this statement,J sign my name, andwffix the seal of this court
at Q , in the State of CULM Ah 3

this k it ke up 13 Seals VL zouk
[Seat of Court] aK

Cleritalthe Bankruptcy Court

. c ;
i, Achelu- Ch Aw _, bankruptcy judge for this district certify that Tithing iE Guy,
is and was at the dAtQof the above certificate clerk of the bankruptcy court rie duly appointed andgworn, and keeper

of the records and seal of the court, and that the above certificate of the.cler{ and tlle clerk’s attestation are in due form of law.

afislex YL \ ZA
: Date B ankfuptcy Iptige
uv
I, Lia et MAG ath 4 , clerk of the bankruptcy court for this district and keeper of the seal
of the court, certify that the Honorable A sliollty ClyAE fs and was on the date of the above

certificate a judge of this court, duly appointed and sworn; and that ] am well acquainted with this handwriting and official

signature and know and certify the signature written above to be that of the judge. - ~
In testimony of this statejnent, I sign my name, and affix the seal o the court at Pll abe on
\ Zoek

the State of \ 27ls ns YRNaGe , this Ae Bass

<=

{Seal of Court] , Clerk of the Bankruptcy Court

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Document Page4of5
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U.S. Bankruptcy Court

Pennsylvania Eastern Bankruptcy - Philadelphia

Receipt Date: Sep 20, 2024 3:10PM

Obermayer Rebmann Maxwell & Hippel LLP
Centre Square West 34th Floor

1500 Market Street
Philadelphia , PA 19102
Rept. No: 20000805 Trans. Date: Sep 20, 2024 3:L0PM Cashler ID: #¥R
co Transaction Case/Party/Defendant qty Price Amt
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cD Tender Amt
S ne ctesetes . . wre rere : . ee daveeeevsuguseucgcdanaees sages coneunaettdepapasemenneeeteas oe
otal Due Prior to Payment rrerernennrees
TotalTendered: SS SS«$2.00
Tota! Cash Received: ee eee "$0.00
Cash ChangeAmouni SS $0.00

Judge: amc Case; 24-00028-amc
Debtor: Stephen }, Scherf, SBA Plan Trust Administrator of v, Precision Door & Hardware

341 Meating: Date Not Available

Only when the bank clears the check, money order, or verifies credlt of funds, is the fee or debt officlaily paid or discharged. A $53 fee
will be charged for a returned check,

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Document Page5of5
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U.S. Bankruptcy Court

Pennsylvania Eastern Bankruptcy - Philadelphia

THIS IS A COPY
Receipt Date: Sep 16, 2024 3:28PM
Obermayer Rebmann Maxwell & Hippell LLP
Centre Square 34th Floor
1500 Market Street
Philadelphia , Pa 19102
Rept. No: 20000774 Trans. Date: Sep 16, 2024 3:28PM Cashier ID; #DR
cp Transaction Case/Party/Dafendant Qty Price Amt
EX Exemplification 24-00028-amc 1 24.00 24,00
CE Certification $1 1 12.00 12,00
cD Tender Amt
CH CHECK #25544 09/16/2024 $36,00
Total Que Prior to Payment: $36.00
Total Tendered: $36,00
Total Cash Recelved: $0.00
Cash Change Amount: $0,00

Judge: amc Case: 24-00028-amc
Debtor: Stephen J. Scherf, SBA Plan Trust Administrator of v. Precision Door & Hardware

341 Meeting: Date Not Avaliable

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt offically paid or discharged. A $53 fee
will be charged for a returned check,

